                          Robinson v. Wells Fargo Bank (N.D. Tex. 2021)




       LEO ROBINSON, Plaintiff,                        to pay off the balance of the loan" on the Property
                v.                                     but that Defendants—who held a mortgage loan
   WELLS FARGO BANK NA, Defendant.                     on the Property—rejected his attempts. Id. ¶ 10.
                                                       He also claims that he "notified Defendants of the
    CIVIL ACTION NO. 3:20-CV-0601-B                    . . . [j]udgment awarding him the [P]roperty," but
                                                       that Defendants "entered into foreclosure
    UNITED STATES DISTRICT COURT                       proceedings on the [P]roperty" anyway. Id. ¶ 11.
    NORTHERN DISTRICT OF TEXAS                         Robinson alleges that he "was never notified of
          DALLAS DIVISION                              this foreclosure proceeding, and Defendants
                                                       produced fraudulent documents to accomplish
                  June 4, 2021                         their action to wrongfully foreclose on
                                                       [Robinson]'s property." Id. ¶ 12.
MEMORANDUM OPINION AND ORDER
                                                            On January 27, 2020, Robinson filed a pro se
     Before the Court is Defendant Wells Fargo
                                                       petition against Wells Fargo in Texas state court,
Bank, NA ("Wells Fargo")'s Motion to Strike (Doc.
                                                       alleging that Wells Fargo violated Texas Property
14). For the reasons that follow, the Court finds
                                                       Code (TPC) § 51.002. Doc. 1-4, Original Pet., 1-4.
that Plaintiff Leo Robinson's amended complaint
                                                       Namely, Robinson's petition alleges that Wells
is futile and that granting leave to amend would
                                                       Fargo rejected Robinson's attempts "to pay off
cause undue delay. Therefore, the Court
                                                       leins [sic] on the [P]roperty" and "fail[ed] to
GRANTS Wells Fargo's motion and STRIKES
                                                       notify" Robinson of the foreclosure sale. Id. at 3.
Robinson's amended complaint (Doc. 13).
                                                       Wells Fargo removed the case to this Court on
Additionally, the Court ORDERS Robinson to
                                                       March 10, 2020, invoking diversity jurisdiction.
SHOW CAUSE, in writing and by no later than
                                                       Doc. 1, Notice of Removal, 1. Robinson
JUNE 18, 2021, why the Court should not
                                                       subsequently retained counsel, who filed a notice
dismiss his original petition (Doc. 1-4) for failure
                                                       of appearance with the Court on June 18, 2020.
to state a claim upon which relief could be
                                                       See generally Doc. 5, Notice of Appearance. The
granted.
                                                       Court issued a scheduling order on July 20, 2020,
                                                       requiring all pleading amendments to be filed by
                         I.
                                                       December 23, 2020. Doc. 8, Scheduling Order, 1.
BACKGROUND1
                                                           On December 23, 2020—the last day to
    This lawsuit arises from Defendants Wells
                                                       amend pleadings—Robinson filed an amended
Fargo and US Bank NA ("US Bank")'s alleged
                                                       complaint (Doc. 13). Despite the fact that the
foreclosure sale of a property located in Dallas,
                                                       scheduling order requires parties to comply with
Texas ("the Property"). Doc. 13, Am. Compl., ¶¶ 9-
14. Robinson claims that he purchased the
                                                       Page 3
Property and "rehabbed the home to a habitable
                                                       Federal Rule of Civil Procedure 15(a), Doc. 8,
Page 2
                                                       Scheduling Order 2, Robinson did not receive the
                                                       Court's leave or Wells Fargo's consent to amend.
condition, spending over $400,000.00 in
                                                       See Fed. R. Civ. P. 15(a)(2). The eight-page
repairs[.]" Id. ¶ 8. Robinson claims that at some
                                                       amended complaint adds US Bank as a defendant
point, "the previous owner . . . attempted to
                                                       and again alleges a violation of TPC § 51.002 for
regain ownership of the [P]roperty," but that "a
                                                       Defendants' alleged "[f]ailure to send notice" of
[j]udgment was issued awarding [Robinson]
                                                       the foreclosure sale. Doc. 13, Am. Compl., ¶¶ 16-
ownership of the [P]roperty on September 13,
                                                       18. It also adds new claims under the Texas Debt
2016." Id. ¶¶ 8-9. After receiving the judgment,
                                                       Collection Act (TDCA). Id. ¶ 20. The amended
Robinson claims that he "made several attempts



                                                                           Exhibit 1
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complaint does not allege any claims against US          decision remains within the court's discretion.
Bank individually. See generally id.                     Smith v. EMC Corp., 393 F.3d 590, 595 (5th Cir.
                                                         2004) (citations omitted). In applying its
     On January 6, 2021, Wells Fargo moved to            discretion, the Court considers several factors,
strike Robinson's amended complaint on the               including "undue delay, bad faith or dilatory
grounds that it was filed without the Court's leave      motive on the part of the movant, repeated failure
and is otherwise futile. Doc. 15, Def.'s Br., 4-5.       to cure deficiencies by amendments previously
Robinson failed to respond to Wells Fargo's              allowed, undue prejudice to the opposing party by
motion within twenty-one days, as required by            virtue of the allowance of the amendment, and
local rules. See N.D. Tex. Local Civ. R. 7.1(e). After   futility of the amendment." Rosenzweig v. Azurix
the Court ordered Robinson to show cause for his         Corp., 332 F.3d 854, 864 (5th Cir. 2003)
failure to timely respond to the motion, see Doc.        (alterations incorporated) (quoting Foman v.
18, Electronic Order, Robinson explained that his        Davis, 371 U.S. 178, 182 (1962)). Absent one of
failure    to    respond     "was     due     to     a   these factors, leave should be freely given. Id.
miscommunication on [Robinson]'s counsel's               (citing Foman, 371 U.S. at 182).
part." Doc. 19, Pl.'s Resp. to Order, 1. Yet,
Robinson still did not file a response for another                            III.
two months. Only after the Court ordered a                                  ANALYSIS
response, see Doc. 24, Electronic Order, did
Robinson respond to Wells Fargo's motion. See                  Wells Fargo argues that Robinson's amended
generally Doc. 25, Pl.'s Resp. In his response,          complaint should be stricken because Robinson
Robinson seeks leave to admit his amended                failed to seek leave and the amended complaint is
complaint. Doc. 25, Pl.'s Resp., 3. Wells Fargo          futile. Doc. 15, Def.'s Br., 4-5. In his response,
timely filed a reply (Doc. 27) in support of its         Robinson argues that he "should be granted leave
motion on May 11, 2021. The motion to strike is          to file an amended complaint regarding his claims
now ripe for review.                                     against Defendant[s], to give him the opportunity
                                                         to allege his best case." Doc. 25, Pl.'s Resp., 3.
                     II.                                 Robinson concedes "that he failed to timely file
              LEGAL STANDARD                             his motion for leave to amend." Id. at 2. However,
                                                         he points to Rule 15(a)(2) and related caselaw,
     "Whether leave to amend should be granted           and claims that "justice would entail that" his
is entrusted to the sound discretion of the district
court[.]" Wimm v. Jack Eckerd Corp., 3 F.3d 137,         Page 5
139 (5th Cir. 1993). Under Rule 15(a),
                                                         amended complaint "be allowed[.]" Id. at 2-3.
Page 4                                                   Upon review, the Court concludes that Robinson's
                                                         amended complaint is futile. Moreover, the Court
courts "should freely give leave [to amend] when         finds that due to Robinson's failure to respond to
justice so requires." Fed. R. Civ. P. 15(a)(2). But      Wells Fargo's motion to strike, permitting the
this "generous standard is tempered by the               amendment       would    cause     undue     delay.
necessary power of a district court to manage a          Accordingly, Robinson's amended complaint
case." Schiller v. Physicians Res. Grp. Inc., 342        should be stricken.
F.3d 563, 566 (5th Cir. 2003). Although Rule 15
indicates "a bias in favor of granting leave to          A. Robinson's Amended Complaint Is Futile.
amend, it is not automatic." Southmark Corp. v.
Schulte Roth & Zabel (In re Southmark Corp.),                 "The district court may deny leave to amend
88 F.3d 311, 314 (5th Cir. 1996) (quotation marks        if the amendment would be futile because 'the
and citations omitted). A district court must have       amended complaint would fail to state a claim
a "substantial reason" to deny leave, but the            upon which relief could be granted.'" McGee v.
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Citi Mortg., Inc., 680 F. App'x 287, 291 (5th Cir.      facts." Spivey v. Robertson, 197 F.3d 772, 774 (5th
2017) (per curiam) (quoting Stripling v. Jordan         Cir. 1999) (citation omitted).
Prod. Co., LLC, 234 F.3d 863, 873 (5th Cir.
2000)). In other words, an amended complaint is              Wells Fargo argues that Robinson's amended
futile if it could not withstand a Federal Rule of      complaint "cannot withstand scrutiny under Rule
Civil Procedure 12(b)(6) motion to dismiss.             12(b)(6)" and is therefore futile. Doc. 15, Def.'s
Accord Searcy v. CitiMort., Inc., 2019 WL               Br., 4. The Court agrees.
935587, at *6 (N.D. Tex. Feb. 26, 2019) ("Rule
12(b)(6) authorizes the court to dismiss a                   1. Robinson fails to sufficiently plead a
plaintiff's complaint for failure to state a claim      violation of the TPC.
upon which relief can be granted.").
                                                             In his amended complaint, Robinson claims
     To survive a Rule 12(b)(6) motion to dismiss,      that "Defendants failed to notify" him of the
a plaintiff "must plead facts sufficient to show        foreclosure sale in violation of TPC § 51.002. Doc.
that [his] claim has substantive plausibility."         13, Am. Compl., ¶¶ 16-17. Pursuant to the TPC,
Johnson v. City of Shelby, 547 U.S. 10, 12 (2014).      "notice of the [foreclosure] sale . . . must be given
That means "enough facts to state a claim to relief     at least 21 days before the date of the sale by . . .
that is plausible on its face." Bell Atl. Corp. v.      serving written notice of the sale by certified mail
Twombly, 550 U.S. 544, 570 (2007). "A claim has         on each debtor who, according to the records of
facial plausibility when the plaintiff pleads factual   the mortgage servicer of the debt, is obligated to
content that allows the court to draw the               pay the debt." Tex. Prop. Code § 51.002(b).
reasonable inference that the defendant is liable       Robinson fails to assert a claim under the TPC for
for the misconduct alleged." Ashcroft v. Iqbal,         two reasons.
556 U.S. 662, 678 (2009). This standard "is not
akin to a 'probability requirement,' but it asks for        First, Robinson's amended complaint does
more than a sheer possibility that a defendant has      not sufficiently allege Robinson was entitled to
acted unlawfully." Id. (quoting Twombly, 550            the twenty-one-day notice of the foreclosure sale
U.S. at 557). "Threadbare recitals of the elements      because it does not allege facts showing that he
of a cause of action, supported by mere                 was a "debtor" under § 51.002. Robinson's
conclusory statements, do not suffice." Id. When        amended complaint states only that he
well-pleaded facts fail to meet                         "purchased the [P]roperty" and that he "made
                                                        several attempts to pay off the balance of the
Page 6                                                  loan," but that

this standard, "the complaint has alleged—but it        Page 7
has not shown—that the pleader is entitled to
relief." Id. at 679 (quotation marks omitted and        Defendants rejected these attempts. Doc. 13, Am.
alterations incorporated). In considering a Rule        Compl., ¶¶ 8, 10. However, Robinson does not
12(b)(6) motion to dismiss, "[t]he [C]ourt accepts      allege or provide evidence that he was the
all well-pleaded facts as true, viewing them in the     borrower under the loan with Defendants or that
light most favorable to the plaintiff." In re           he otherwise assumed the loan when he
Katrina Canal Breaches Litig., 495 F.3d 191, 205        purchased the Property. See generally id.
(5th Cir. 2007) (quotation marks omitted)               Robinson's amended complaint provides no
(quoting Martin K. Eby Constr. Co. v. Dall. Area        factual allegations to inform the Court of the
Rapid Transit, 369 F.3d 464, 467 (5th Cir.              nature of Robinson's claim to the Property, his
2004)). However, the Court will "not look beyond        relationship to Defendants, or the legal rights that
the face of the pleadings to determine whether          Robinson may possess. See generally id.
relief should be granted based on the alleged           Accordingly, Robinson has not sufficiently alleged
                                                        that he was entitled to notice.
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     Second, even if Robinson had alleged he was       2011) ("[U]nder Texas law an inadequate selling
a debtor under the TPC and that Defendants             price is a necessary element of a wrongful
failed to notify him, § 51.002 does not provide a      foreclosure action[.]").
private right of action. See Carey v. Fargo, 2016
WL 4246997, at *3 (S.D. Tex. Aug. 11, 2016)                 In sum, Robinson does not plead an
(citation omitted); Ashton v. BAC Home Loan            actionable claim under the TPC. Accordingly, the
Servicing, L.P., 2013 WL 3807756, at *4 (S.D.          Court finds that Robinson's TPC claim could not
Tex. July 19, 2013) ("This Court has not found any     survive a Rule 12(b)(6) motion to dismiss and that
cases that interpret section 51.002 to establish an    his amended pleading is therefore futile as to this
independent right of action for damages. The           claim. See McGee, 680 F. App'x at 291 (citation
section also does not contain its own enforcement      omitted).
mechanism." (citations omitted)); Solis v. U.S.
Bank, N.A., 2017 WL 4479957, at *2 (S.D. Tex.               2. Robinson fails to sufficiently plead a
June 23, 2017) ("Section 51.002 of the [TPC] . . .     violation of the TDCA.
does not provide a private right of action."
(citations omitted)); Anderson v. CitiMortgage,             In his amended complaint, Robinson claims
2014 WL 2983366, at *5 (E.D. Tex. July 2, 2014)        that "Defendants are liable to [Robinson] for
("Under Texas law, there is no independent cause       violating portions of the" TDCA. Doc. 13, Am.
of action for breach of section 51.002" (citation      Compl., ¶ 20. Specifically, Robinson claims that
omitted)). Instead, "courts have construed claims      Defendants violated §§ 392.304(a)(8) and
for violation of section 51.002 as claims for          392.304(a)(19) of the Texas Finance Code. Id.
wrongful foreclosure." Carey, 2016 WL 4246997,         However, Robinson's amended complaint fails to
at *3 (collecting cases). This Court does the same     plead a claim for either violation that would
and finds that Robinson fails to state a claim for     survive a Rule 12(b)(6) motion to dismiss.
wrongful foreclosure.
                                                           Section        392.304(a)(8)          prohibits
     The elements of a wrongful-foreclosure claim      "misrepresenting the character, extent, or amount
are "(1) a defect in the foreclosure sale              of a consumer debt, or misrepresenting the
proceedings; (2) a grossly inadequate selling          consumer debt's status in a judicial or
price; and (3) a causal connection between the         governmental proceeding[.]" Tex. Fin. Code §
two." Martins v. BAC Home Loans Servicing,             392.304(a)(8). To state a claim for a violation of §
L.P., 722 F.3d 249, 256 (5th Cir. 2013). Under         392.304(a)(8),
Texas law, "a
                                                       Page 9
Page 8
                                                       Robinson "must show [Defendants] made a
grossly inadequate price would have to be so little    misrepresentation that led [him] to be unaware
as 'to shock a correct mind.'" Id. (quoting F.D.I.C.   (1) that [he] had a mortgage debt, (2) of the
v. Blanton, 918 F.2d 524, 531-32 (5th Cir. 1990)).     specific amount [he] owed, or (3) that [he] had
Although Robinson alleges a defect in the              defaulted." Rucker v. Bank of Am., N.A., 806 F.3d
foreclosure proceedings—lack of notice—he fails        828, 832 (5th Cir. 2015) (citing Miller v. BAC
to allege that the Property was sold at a grossly      Home Loans Servicing, L.P., 726 F.3d 717, 723
inadequate price and that the lack of notice           (5th Cir. 2013)).
caused the grossly inadequate selling price. See
                                                           However, Robinson's amended complaint is
generally Doc. 13, Am. Compl. Therefore,
                                                       completely devoid of any mention of
Robinson's amended complaint fails to
                                                       misrepresentations made by Defendants, except
adequately allege a claim for wrongful
                                                       for a single, conclusory statement that
foreclosure. See Biggers v. BAC Home Loans
                                                       "Defendants produced fraudulent documents to
Servicing, LP, 767 F. Supp. 2d 725, 730 (5th Cir.
                          Robinson v. Wells Fargo Bank (N.D. Tex. 2021)




accomplish their action to wrongfully foreclose on     because "[t]he conduct of Defendants . . . has
[Robinson]'s property." Doc. 13, Compl., ¶ 12.         been done willfully, recklessly, wantonly,
Robinson cannot therefore succeed on a claim           maliciously and/or intentionally." Doc. 13, Am.
under § 392.304(a)(8) because he has not plead         Compl., ¶ 24. Insofar as Defendants' "conduct"
any facts to support that any alleged                  refers to Robinson's claims for violations of the
misrepresentation "led [Robinson] to be unaware        TPC and TDCA, the Court has already found that
(1) that [he] had a mortgage debt, (2) of the          Robinson failed to allege sufficient facts to plead
specific amount [he] owed, or (3) that [he] had        those violations. And Robinson offers no
defaulted." See Rucker, 806 F.3d at 832; Smith v.      additional facts or claims to form the basis of his
Wells Fargo Bank, N.A., 2013 WL 3324195, at *12        request for exemplary and punitive damages. See
(N.D. Tex. June 28, 2013) ("To withstand a             generally id. Accordingly, the Court finds that
motion to dismiss, a court must be able to discern     Robinson has failed to allege facts to show that he
not only that there was a misrepresentation but        is entitled to exemplary or punitive damages.
also how the defendant allegedly misrepresented        Robinson's amended complaint is therefore futile
the character, extent, or amount of the plaintiffs'    in this request. See McGee, 680 F. App'x at 291
debt." (citations omitted)).                           (citation omitted).

     Nor has Robinson adequately pleaded a                  4. Robinson fails to sufficiently plead a claim
violation of the catch-all provision, §                for injunctive relief.
392.304(a)(19), which prohibits "using any other
false representation or deceptive means to collect          Robinson does not have a plausible
a debt or obtain information concerning a              underlying legal claim, so he is not entitled to
consumer." Tex. Fin. Code § 392.304(a)(19). "As        injunctive relief. Under Texas law, injunctive
with Section 392.304(a)(8), for a statement to         relief is an equitable remedy, not an independent
constitute a misrepresentation [under §                cause of action. Cook v. Wells Fargo Bank, N.A.,
392.304(a)(19)], a defendant must have made 'a         2010 WL 2772445, at *4 (N.D. Tex. July 12, 2010)
false or misleading assertion.'" Smith, 2013 WL        (citing Brown v. Ke-Ping Xie, 260 S.W.3d 118,
3324195, at *13 (quoting Thomas v. EMC Mortg.          122 (Tex. App.—Houston [1st Dist.] 2008, no
Corp., 499 F. App'x 337, 343 (5th Cir. 2012); Cox.     pet.)).
v. Hilco Receivables, 726 F. Supp. 2d 659, 667
(5th Cir. 2010)). However, Robinson "do[es] not             Here, Robinson has failed to allege enough
allege how                                             facts to state a claim upon which relief can be
                                                       granted under the TPC or TDCA. Accordingly, he
Page 10                                                is not entitled to relief on any of his substantive

Defendant[s] used a false representation or            Page 11
deceptive    means      or   even   what     false
representations were made." See id. Accordingly,       claims or on his claim for injunctive relief. See
Robinson's amended complaint fails to allege           Anderson, 2011 WL 1113494, at *7 ("As all of
facts that would state a claim upon which relief       Plaintiffs' causes of action should be dismissed,
can be granted under the TDCA. Thus, his TDCA          and Plaintiffs have failed to allege sufficient facts
claims are futile. See McGee, 680 F. App'x at 291      to support their claims, Plaintiffs are not entitled
(citation omitted).                                    to injunctive relief."). Robinson's amended
                                                       complaint is therefore futile in his request for
     3. Robinson fails to sufficiently plead a claim   injunctive relief. See McGee, 680 F. App'x at 291
for exemplary or punitive damages.                     (citation omitted).

    In his amended complaint, Robinson                      5. Robinson fails to sufficiently plead a claim
requests exemplary and punitive damages                for declaratory judgment.
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    Having failed to allege a viable underlying         relief could be granted.2 Therefore, his amended
claim, Robinson is not entitled to declaratory          complaint is futile. See id.
judgment either. Declaratory judgment is
"remedial only." Collin Cnty. v. Homeowners             B. Undue Delay Weighs Against Granting Leave
Ass'n for Values Essential to Neighborhoods, 915        to Amend.
F.2d 167, 170 (5th Cir. 1990). The Court may only
grant such a remedy "based on an underlying                 While not determinative in the Court's
claim." DeFranceschi v. Wells Fargo Bank, N.A.,         decision to strike Robinson's amended complaint,
837 F. Supp. 2d 616, 626 (N.D. Tex. 2011).              the Court also finds that undue delay weighs
Robinson has failed to state a claim that could         against permitting the amendment. The Court
withstand a Rule 12(b)(6) motion to dismiss.            may deny leave to amend for "undue delay[.]"
Accordingly, he is not entitled to declaratory          Rosenzweig, 332 F.3d at 864 (citation omitted).
judgment in this case. See id. at 627 ("[T]here is      While the "mere passage of time need not result
no genuine dispute of material fact regarding           in refusal of leave to amend," it is "undue delay
Plaintiffs [sic] claims; thus, there is no underlying   that forecloses amendment." Dussouy v. Gulf
claim for the Court to adjudicate."). Robinson's        Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir.
amended complaint is therefore futile in its            1981).
request for declaratory judgment. See McGee, 680
F. App'x at 291 (citation omitted).                          Robinson filed his amended complaint on
                                                        December 23, 2020. See generally Doc. 13, Am.
     6. Robinson fails to sufficiently plead a claim    Compl. Although the amendment was filed within
for attorney's fees.                                    the period permitted by the scheduling order, see
                                                        Doc. 8, Scheduling Order, 1, the amendment ran
     Finally, Robinson cannot succeed on his            afoul of the Court's requirement to comply with
request for attorney's fees. See Doc. 13, Am.           Rule 15(a). See id. at 2. Specifically, Robinson
Compl., ¶ 33(g). In Texas, plaintiffs are not           failed to obtain "the opposing party's consent or
entitled to attorney's fees unless they state a         the [C]ourt's leave." see Fed. R. Civ. P. 15(a)(2).
viable cause of action. See Avila v. Mortg. Elec.       And while Robinson's filing of his amended
Reg. Sys., Inc., 2012 WL 6055298, at *7 (S.D. Tex.      complaint did not unduly delay this case,
Dec. 5, 2012) ("[W]ithout a viable cause of action,     Robinsons' failure to respond to Wells Fargo's
[the plaintiff] is not entitled to recover attorney's   motion to strike the amended complaint did.
fees."); see also Everhart v. CitiMortgage, Inc.,
2013 WL 264436, at * 6 (S.D. Tex. Jan. 22, 2013)        Page 13
("[Plaintiffs]
                                                             Indeed, Robinson filed his response in
Page 12                                                 support of his amended complaint 113 days after
                                                        Wells Fargo filed its motion to strike—only after
are not entitled to their requested attorney's fees .   the Court issued two separate orders related to his
. . because they have not pled any viable cause of      failure to respond. See generally Doc. 14, Def.'s
action against Defendant"). Because there is no         Mot.; Doc. 18, Electronic Order; Doc. 24,
viable claim alleged, Robinson is not entitled to       Elecronic Order; Doc. 25, Pl.'s Resp. Between the
attorney's fees. Robinson's amended complaint is        end of the twenty-one-day period that Robinson
therefore futile in its request for attorney's fees.    should have responded to the motion to strike
See McGee, 680 F. App'x at 291 (citation                and the time he actually did so, the deadlines
omitted).                                               passed for Wells Fargo's expert designation and
                                                        report and for the completion of mediation. See
     Robinson's amended complaint fails to allege       Doc. 8, Scheduling Order, 1. By the time Robinson
facts sufficient to state any claim upon which          responded, only twenty-three days remained until
                                                        the deadline for completion of discovery. See id.
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When Wells Fargo timely filed its reply to               writing and by no later than JUNE 18, 2021,
Robinson's response, only nine days remained.            why the Court should not dismiss his original
See id. The discovery deadline has now passed.           petition (Doc. 1-4).
See id. Permitting Robinson's amended complaint
would likely require amending the scheduling                  SO ORDERED.
order and prolonging this case further, as Wells
Fargo would need additional time to address                   SIGNED: June 4, 2021.
Robinson's new claims and conduct additional
discovery, and US Bank—a new defendant—would                  /s/_________
need to begin the litigation process in this case             JANE          J.          BOYLE
anew.                                                         UNITED STATES DISTRICT JUDGE

     This delay is undue in light of Robinson's          --------
initial failure to respond to Wells Fargo's motion,
                                                         Footnotes:
as well as his failure to respond after the Court's
first order regarding that initial failure. See Doc.           The Court derives the factual background
                                                              1.

19, Pl.'s Resp. to Order, 1 (explaining that             from Robinson's amended complaint (Doc. 13)
Robinson's failure to respond "was due to a              and the docket.
miscommunication on [Robinson]'s counsel's
part"); see also Thrasher v. Amarillo, 709 F.3d               2.Wells Fargo also argues that Robinson's
509, 511 (5th Cir. 2013) ("Proof of good cause           amended complaint is futile insofar as Robinson
requires 'at least as much as would be required to       alleges claims of superior title to the Property,
show excusable neglect, as to which simple               constitutional violations, and fraud. Doc. 15,
inadvertence or mistake of counsel or ignorance          Def.'s Br., 12-16. The Court does not construe
of the rules usually does not suffice.'" (quoting        Robinson's amended complaint as asserting such
Winters v. Teledyne Movible Offshore, Inc., 776          claims and thus does not reach a decision on
F.2d 1304, 1306 (5th Cir. 1985))). While undue           those arguments. See generally Doc. 13, Am.
delay is not the Court's sole reason for denying         Compl.
leave to amend in
                                                         --------
Page 14

this case, it certainly weighs in favor of the Court's
decision.

                      IV.
                  CONCLUSION

    For the reasons stated above, Robinson's
amended complaint is futile, and granting leave to
amend would cause undue delay in this case.
Accordingly, the Court GRANTS Wells Fargo's
motion (Doc. 14) and STRIKES Robinson's
amended complaint (Doc. 13).

     Finally, Robinson's original petition (Doc. 1-
4) does not appear to state a claim upon which
relief could be granted. Therefore, the Court
ORDERS Robinson to SHOW CAUSE, in
